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                            IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF PENNSYLVANIA

   ROBERT WARD, on behalf of himself and all                                   CIVIL ACTION
   others similarly situated
                                                                               NO. 17-2069
                           v.

   FLAGSHIP CREDIT ACCEPTANCE LLC

                                        ORDER RE: PROPOSED MASTER

          The Court continues to have some concerns about the reasonableness of the proposed

settlement. Therefore, the Court gives notice of an intent to appoint the Honorable Jane

Greenspan, formerly Justice of the Supreme Court of Pennsylvania and Judge of the

Pennsylvania Court of Common Pleas, as a Master for limited purposes of reviewing the

proposed settlement, pursuant to Federal Rule of Civil Procedure 53.

          1.        The parties shall have ten (10) days to submit any position as to this appointment

and may suggest other candidates for appointment.

          2.        The proposed Master advises that the proposed fee for this assignment will be

$600 per hour, plus administrative fees to be determined, to be paid out of the settlement amount,

assuming it is approved and if not, by Plaintiffs and Defendant in equal shares.

          3.        The proposed Master must file an affidavit disclosing whether there is any ground

for disqualification under 28 U.S.C. § 455.

          4.        The Master will be requested to complete this assignment within ninety (90) days.

                                                              BY THIS COURT:


                                                              /s/ Joshua D. Wolson for
DATE: July 1, 2019                                            MICHAEL M. BAYLSON
                                                              United States District Court Judge
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